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                                                                    J.:'. -. -
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                                     UNITED STATES DISTRICT COURT
                                         DISTRICT OF MARYLAND' 0 :lei        2 J ,..'I'
                                                                                   II.
                                                                                        , .I
     Chambers of                                                                       101 West Lombard Street
Ellen Lipton Hollander                                                                 Baltimore,Maryland21201
  DistrictCourt Judge                                                                        410-962-0742

                                              October 25,2016

       MEMORANDUM TO MR. HARDY (by U.S. MAIL) AND TO COUNSEL (BY CM/ECF)

       Mr. Maurice Hardy #53641-037
       FC! Loretto
       Federal Correctional Institution
       P.O. Box 1000
       Loretto, PA 15940

               Re:       United Slales v. Maurice Hardy
                         Criminal Action No. ELIl-II-358
                         Civil Action No. ELH-14-3622

       Dear Mr. Hardy and Counsel:

               As you know, by Order of September 16,2016 (ECF 498), ! directed the government to
       respond to Mr. Hardy's Motion to Strike (ECF 492) by September 30,2016. On September 27,
       2016, the government docketed a Motion for Extension of Time (ECF 499), requesting an
       additional sixty days in which to respond to the Motion to Strike. Counsel for the government
       indicated that, due to his involvement in a multi-defendant racketeering matter, he requires
       additional time to review and respond to the Motion to Strike. Id.

              By Order of September 28, 2016 (ECF 500), I granted the Motion for Extension of Time.
       My Order stipulated, however, "that by 10/14/2016, Hardy may move to rescind this Order as
       improvidently granted." Id.

               On October 24, 2016, the Clerk docketed "Defendant's Verified Reply To Plaintiff"s
       Failed Response To Defendant's Motion To Strike, Vacate, Dismiss, et., at" ECF 503. In his
       lengthy submission, Mr. Hardy opposes the government's request for an extension of time. Id.

              I am persuaded that the government has demonstrated good cause for the requested
      extension. See Fed. R. Civ. P. 6(d). Accordingly, I decline to rescind my Order of September
      28, 2016. ECF 500. The government shall respond to the Motion to Strike by November 25,
      2016, as required by ECF 500.
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        Despite the informal nature of this Memorandum, it is an Order of the Court and the
Clerk is directed to docket it as such.

                                                        Sincerely,

                                                                       /s/
                                                        Ellen Lipton Hollander
                                                        United States District Judge




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